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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

     UNITED STATES OF AMERICA,

                    Plaintiff,

     v.                                            Case No. 8:91-cr-180-T-23EAJ

     GRAZIANO PUGLIESSE,

                    Defendant.
                                             /

                                             ORDER

                    The Defendant is before the court on a petition alleging violation of

     conditions of pretrial release1. By the petition, the Defendant failed to contact Pretrial

     Services by telephone on January 20, 1992, and his whereabouts were unknown. On

     February 5, 1992, a warrant for his arrest was issued by the district judge. The Defendant

     has been at large ever since. According to the docket sheet for this case, the Defendant

     was sentenced on May 19, 1992, in absentia, to 121 months incarceration and four years

     supervised release. In these circumstances the Defendant is appropriately committed to

     the custody of the United States Marshal for delivery to the Bureau of Prisons to begin

     his sentence. The Order of Release (Doc. 6) is REVOKED.

                    Done and Ordered in Tampa, Florida, this 10th day of March 2006.




     Copies furnished to:
     James Preston, Assistant United States Attorney
     Kevin Beck, Counsel for Defendant
     U.S. Marshal


            1
             The court has appointed the Federal Public Defender to assist the Defendant and
     authorized them to look into the matter of the Defendant’s sentence in absentia.
